Case »-01-me-00021-KSH Document 4 PROCESS HECEIEY Anh’

See fastructions for “Service of Process by the U.S. Marshal”
on the reverse of this torr. AR

U.S. Department of Justice r .
United States Marshals Service

J [goer

PLAINTIFF
Cityscape Corp.

COURT CASE NUMBER
Mise. Action We,

2701l-mc-00021

DEFENDANT ‘ tyes . nya
Walsh Securitics Corp., a/k/a Walsh Securities, Inc.,

* Mortgage o/k fal

TYPF OF PROCESS

Bomity ep

NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC., TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN

SERVE
> dohn A, Duceff, Esq.
ot ADDRESS (Saret or RFD, Apuwiment No., City, Sunte and ZIP Code)
AT Tatham & Watkins, LLP, One Newark Center, 16th Floor, Newark, Ng 07101
—— TUR Ay aa BHLOW I
SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW: axunher of process to be os
served with this Form - 285 oe
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SaLaer Soh lees Noe A SA+ i GOOG | Number of parties to he =
| Cr heed AM C ent yo Oth $1 bad rn ! served in this case ~
Newanic, ND CUO I Check for service tu
ee lon U.S.A. ~e
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SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSEST IN EXPEDITING SERVICE (faciude Business and Alternate Addresses, :All

zelephone Nambers, and Bstimatcd Times Available Por Service):

au)

Fold

Gk PLAINTIFF

Signature of Attomey or othey Originator requesting service on behalf of;
L : 1 DEFENDANT

TH .EPHONE NiJMBER DATE

(973) 622-3333

#10

SPACE BELOW FOR USE OF U.S. MARSHAL ONLY — DO NOT WRITE BELOW THIS LINE

Total Process | Dastrict District

T acknowledge receipt for the tutu]
of Origin to Serve

(Sige only fist USM 285 uf mor

Signature of Authorized USMS5 Deputy or Clerk

Date

7ligley

number of process indicuted. |

than onc USM 285 is submitted}

0. Kocbomittp

Phereby cerufy and return that {J have personally served. Lo have legal evidence af service, Ldfiave execuled as shown in “Remarks”. the process described
on the individual, company, corporation, etc. at the address shown above or on the individual, company, carpuralion, etc., shown al the address inserted below,

[J | hereby certify and return that [ am unable te locate the individual, company, corporation,

etc., named above (See remarks below)

Name and

af
[ OE

A person of suitable age and dis-
(2 cretion then residing in the defendant's

usual place of abode.

Address Momplete only if dificrent thas shown aioe)

Date of Serviec ‘Time

Wifey

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BT LE GN

Signature af i “Fegek Deputy

Service Kee Total Mileage Charges | Forwarding Fee | Total Charges | Advance Deposils Amount owed to U.S. Marshal or Amount of Refund
' (inclading endeavors} t fee

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REMARKS:

PRIOR EDITIONS
MAY BE USED

1. CLERK OF THE COURT

FORM USM-285 (Rew 12/15/80)

w Case 2:01-mc-00021-KSH Document 4 Filed 08/03/04 Page 2 of 7 PagelD: 5
PEEVE aS
Pro W RH et DISTRICT
gy. UNITED STATES EES COURT
DISTRICT OF NEW JERSEY
Ch JUL ER PH 5:16 MC-2:01-00021 (KSH)

Case No. 98-1223

WRIT OF EXECUTION
FOR REGISTERED JUDGMENTS

TO THE MARSHAL OF THE UNITED STATES DISTRICT COURT, DISTRICT OF NEW
JERSEY

WHEREAS, judgment was entered on.the 4" day of January, 2001 in an action in the United
States Bankrupicy District Court, Southern District of New York between Cityscape Corp. plaintitf(s)
and Walsh Securities Corp., a/k/a Walsh Securities, Inc., a/k/a Walsh Securities Incorporated, /k/a
GF Mortgage Corp., n/k/a Equity Rewards Mortgage, Inc., defendant(s) in favor of said Cityseape
Corp. and against said Walsh Securities Corp., for the sum of $4,732,568.93 and costs taxed in the sum
of §-- and assigned to Cherokee Sofutions, Inc. by Assignment of Judgment dated May 26, 2004 as
appears by the Judgment filed in the Office of the Clerk of the United States District Court, District of
New Jersey; and

WHEREAS. the said Judgment was duly centered in the Office of the Clerk of the United States
District Court, District of New Jersey, and the sum of $4,732,568.93, plus taxed costs in the sum of § -0,
plus post-judgment interest’ is now actually due thereon:

THEREFORE, you are hereby commanded to satisfy the said Judgment out of the personal
property of the said judgment debtor, as set forth in the attached affidavit, and if sufficient personal
property cannot be found, then out of the real property belonging to such judgment debtor at the time said
Judgment was entered in the Office of the Clerk of this Court, or at any time thereafter. in whosoever
hands the same may be, as set forth in the attached affidavit and that you do pay the moneys realized by
you from such property directly to said plaintiff or to their attorney in the said action, and return this
execution and your proceedings thereon within ane (1) year afier date of its issuance to the Clerk of the
United States District Court, District of New Jersey.

WE FURTHER COMMAND YOU, that in case of a sale, you make return of this Writ with
your proceedings thereon before said Clerk and pay to the Clerk of this Court any surplus in your hands

within thirty (30) days after said sale. .
WITNESS. the Honorable hn U) . Biel. a Judge of the United

States District Court, District of New Jersey ths CEA. dayof_° N us bic » 2004.

Pieparcd By: William IT. Walsh, Clerk

—_ CAL Court

feton . Deputy Clerk f
t Law LEVY:
Damages... 2... eet 4 732,568, 93
Address: Saibcr Schlesinger Satz & Goldstein ClOSES acc cccccees ses uaneveeneetseeeeeee el -f)-
One Gateway Center - 13" Floor Interest’ from January 4, 2001... $
Newark, New Jersey 07102 §

Besides Marshal's Execution Fees

The judument creditor reserves (he right to adel on the fui amount of post-judgment interesi that has accrued on the judgment
since January 4, 2001. inthe event chat the principal amount of the judgment is sutislied by assets seized.

HOOIdd 173.

Case 2:01-mc-00021-KSH Document 4 Filed 08/03/04 Page 3 of 7 PagelD: 6

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MC-2:01-00021 (KSH)
Case No. 98-0223

WRIT OF EXECUTION FOR REGISTERED JUDGMENT

COUNTY OF __ ESSEX :
STATI: OF NEW_JERSEY : AFFIDAVIT

Nancy A. Washington being duly sworn, says:
1. lam the atlomey for judgment creditar in he matter of Cityscape Carp, v.

Walsh Securities, Corp., Misc. Action No. 2:01-00021 (KSH)}, Case No. 98-0223, and in that
capacity and in conformance with N.S, 2A:17-1, ct seg., as made applicable (o this case by Rule
69(a), Fed. R. Civ. P., | have reviewed financial statements regarding the judgment debtor's assets
as provided on behalf of the judgment debtor, as well as public records thereol,

2. | have determined the following non-cxacmpt personal property of the judgment
debtor is subject ta execution in satisfaction of the judgment therein:

PROPERTY DESCRIPTION PROPERTY LOCATION
Any_and all funds in their possession that Latham & Watkins, L.1.P
belong to Walsh Sceurities, Corp., a/k/a One Newark Center, 16" Floor
Walsh Securitics, Inc., a/k/a Walsh Newark, New Jersey 07101]

Securities, Incorporated, {/k/a GF Mortgage
Corp., n/k/a Equity Rewards Mortgage, Inc.,
including, but not limited to any funds
inaintained in Latham & Watkins, LLP
Attorney ‘Trust Account,

Contact at Location: John A. Ducoff, Esq. (973) 639-1234

3. | have determined the following non-exempt real property of the judgment debtor
is subject to execution in satisfaction of the judgment therein:

PROPERTY DESCRIPTION PROPERTY LOCATION

Notary of ce
My Commission Ep Ntidiry Public of New Jereay..
iy Gaverinsion Expires 12/18/2008

Recorded in the Clerk’s Office of the United Stated District Court tor the District of New Jersey in
M OY

Book — / ‘of Executions, Page EL.

Deputy Clerk
(00344173 FOC}

, Case 2:01-mc-00021-KSH Document 4 Filed 08/03/04 Page 4 of 7 PagelD: 7
, UNITED STATES DISTRICT COURT |
* SOUTHERN DISTRICT OF NEW YORK

panne nene rene X
CITYSCAPE CORP.,
Plaintiff, 98 CIVIL 0223 (SHS)
CERTIFICATION OF JUDGMENT
FOR REGISTRATION IN
-agaimst- ANOTHER DISTRICT
JUDGMENT #01,0012
WALSH SECURITIES,
Defendant.
---- --- Xx

I, J. Michae] McMahon, Clerk ef this United States District Court certify that the attached
is a (rue and correct copy of the judgment entered in this action on January 4, 2001 as it appears in
the records of this court, and that * no notice of appeal has been filed, and no motion of any kind
listed in Rule 4(a) of the Federal Rules of Appellate Procedure has been filed.

IN TESTIMONY WHEREOF, | sign my name and affix the seal of this Court on

April 23, 2004.

(By) Deputy Clerk

= Case 2:01-mc-00021-KSH Document 4 File 08/03/04 Page 9 of 7 PagelD: 8

0b STATES DISTRICT COURT
(ieeorneRN DISTRICT OF NEW YORK

CITYSCAPEH CORP.,

Plaintiff, 98 Civ. 223 (SHS)
Ve JUDGMENT AND ORDER
\4atsa SECURITIES CORP. :
# Ol oad

Defendant. : é
meme a mmm x
SIDNEY H. STEIN, U.S, District Judge.

Plaintiff Cityscape Corp. ("Cityscape") having moved

this Court on October 22, 1999 for partial’ summary judgment on
Cityscape's breach of contract claim against defendant Walsh
Securities Corp., ("Walsh") for 32 loans (the "New Jersey
Loans") and

The Court having given due and careful consideration
to the matters at issue and having set forth its findings of
fact and conclusions of law in Opinions dated June 8, 2000, and
October 20, 2000:

WHEREAS, this Court's Order dated June 8, 2000 granted
Cityscape partial .summary judgment on Cityscape’s claims
relating to the 32 New Jersey Loans;
| WHEREAS, this Court's Order dated October 20, 2000
denied Walsh's claim for an offset of Cityscape's damages; |

ACERTIFIED COPY
J. MICHAEL McMAHON, CLERK

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DEPUTY CLERK

» Case 2:01-mc-00021-KSH Document 4 Filed 08/03/04 Page 6 of 7 PagelD: 9

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Prepared by:

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Ui A AAA. bine Feo. o “- Mayz@_, 2004

Nancy A. Washing
An Attorney at Law of
the State of New Jersey

ASSIGNMENT OF JUDGMENT

FOR GOOD AND VALUABLE CONSIDERATION, the receipt and adequacy
of which is hereby acknowledged, CETYSCAPE CORP., a/k/a Cityscape Mortgage
Corp., c/o AMC Financial, P.G. Box 8160, Waco, Texas 76714, ("Assignor”) hereby
grants, assigns, transfers and conveys to CHEROKEE SOLUTIONS, INC., P.d., Box
6357, East Brunswick, NJ 08816, its successors and assigns (“Assignee”), without
recourse, all of its right, title and interest In and to that certaln Judgment entered on
January 2, 2001, by the United States District Court for the Southern District of New
York, in the action entitled Cityscape Corp. v. Walsh Securities Corp., in Civil Action
No, 98-0223(5HS), granting judgment in favor of plaintiff and against defendant In
the amount of $4,732,568.93.

This Assignment of Judgment shall be binding on the parties and their
respective successors and assigns.

This Assignment of Judgment is without recourse to Assignor in any manner
whatsoever,

This Assignment of Judament Is made In accordance with and subject to the
terms of a certain Assignment Agreement between Assignor and Assiqnee dated as
of May 24, 2004,

IN WITNESS WHEREOF, the undersigned has executed this Assignment of
Judgment on this _2é*A_ day of May, 2004.

ATTEST: CITYSCAPE CORP.

Qf <r hee wy. HN. Dor

EME: \\e qu vv Neque Name: Bim © Gnas

Title:- Cnn enn en Title: “Prea dest

5 DOC} Citysc Page 1 of 2

, 4 Case 2:01-mc-00021-KSH Document 4 Filed 08/03/04 Page 7 of 7 PagelD: 10

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CORPORATE ACKNOWLEDGMENT

STATE OF TEXAS
:S.8.:
COUNTY OF :
zh

Be it remembered, that on this? day of May, 2004, befora me, the
subscriber, in and for sald county, personally appeared BILL N. GOSS wha, I am
satisfied is the person who assigned the within instrument as the PRESIDENT of
CITYSCAPE CORP., a/k/a Cityscape Mortgage Corp., and delivered the same as such
officer aforesaid, and that the within instrument is the voluntary act and deed of
such association, made by virtue of a Resolutian of its Board of Directors.

oh

Witnesseth my hand and seal.

wo

ss | ws
JERRY P. Mo
Notary Publis fap ——
STATE OF TEXAS Notary Public
My Comm. Exp, ONDE?
My commission expires:
ASSIGNMENT OF JUDGMENT
To the Register or Clark CITYSCAPE CORP.,
a/k/a Cityscape Mortgage Corp.,
County of to

CHEROKEE SOLUTIONS, INC,

Record and return te:

Nancy A. Washington, Esq.
SAIBER SCHLESINGER SATZ
& GOLDSTEIN, LLC

One Gateway Center

13 Fleer

Newark, New Jersey 07102

£00339485.DOC} Cityscape to Cherokee Page 2 of 2

